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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

SAVANNAH DIVISION
UNITED STATES OF AMERICA )
v. CASE NO: 4:20-CR-00059
ARKEEM COLLINS

PLEA AGREEMENT

Defendant, Arkeem Collins, represented by his counsel, Scott Reddock, Esq.,
and the United States of America, represented by Assistant United States Attorney
Joshua Bearden, have reached a plea agreement in this case. The terms and
conditions of that agreement are as follows.
1. Guilty Plea

Defendant Arkeem Collins agrees to plead guilty to Possession of a Firearm by
a Prohibited Person, contained within Count One of the Indictment.

2. Elements and Factual Basis

The Defendant can be found guilty of Count One only if all the following
elements are proved beyond a reasonable doubt:

FIRST: The Defendant knowingly possessed a firearm in or affecting
interstate or foreign commerce; and

SECOND: Before possessing the firearm, the Defendant had been convicted
of a felony — a crime punishable by imprisonment for more than
one year; and

THIRD: The Defendant knew that he was a convicted felon.

Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the required elements:
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On or about May 31, 2020, in Chatham County, within the Southern District
of Georgia and elsewhere, the Defendant, Arkeem Collins, knowing he had previously
been convicted of a crime punishable by imprisonment for a term exceeding one year,
knowingly possessed a firearm, to wit: a Brescia, .25 caliber pistol, and ammunition,

to wit: 5 rounds, all in and affecting interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 922(g)(1).
3. Possible Sentence
Defendant’s guilty plea to Count One will subject him to the following

maximum possible sentence:

Count 1: Possession of a Firearm by a Prohibited Person
18 U.S.C. § 922(g)

e Not more than ten (10) years of imprisonment
e Not more than a $250,000 fine

e Not more than 3 years of supervised release

e $100 special assessment

4, No Promised Sentence

No one has promised Defendant that the Court will impose any particular
sentence or a sentence within any particular range. The Court is not bound by any
estimate of sentence given or recommendations made by Defendant’s counsel, the
Government, the U.S. Probation Office, or anyone else. The Court may impose a
sentence up to the statutory maximum. Defendant will not be allowed to withdraw his

plea of guilty if he receives a more severe sentence than he expects.
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5. Court's Use of Guidelines

The Court is obligated to use the United States Sentencing Guidelines to
calculate the applicable guideline range for Defendant’s offense and to consider that
range, possible departures under the Sentencing Guidelines, and other sentencing
factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing
Guidelines are advisory; the Court is not required to impose a sentence within the range
those Guidelines suggest. The Sentencing Guidelines are based on all of Defendant’s
relevant conduct, pursuant to U.S.S.G. § 1B1.3, not just the facts underlying the
particular Count to which Defendant is pleading guilty.

6. Agreements Regarding Sentencing Guidelines

a. Government’s Recommendation

The Government hereby agrees to recommend to the Court that the Defendant
receive the low-end of the Sentencing Guidelines range.

b. Acceptance of Responsibility

The Government will not object to a recommendation by the U.S. Probation
Office that Defendant receive a two-level reduction in offense level for acceptance of
responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. If the U.S.
Probation Office makes that recommendation, and Defendant’s offense level is 16 or
greater prior to any reduction for acceptance of responsibility, the Government will
move for an additional one-level reduction in offense level pursuant to Section
3E1.1(b) based on Defendant’s timely notification of his intention to enter a guilty

plea.
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c. Use of Information
The Government is free to provide full and accurate information to the Court and
U.S. Probation Office for use in calculating the applicable Sentencing Guidelines range.

7. Financial Obligations and Agreements

a. Special Assessment

Defendant agrees to pay a special assessment in the amount of $100, payable to
the Clerk of the United States District Court, which shall be due immediately at the
time of sentencing.

b. Required Financial Disclosures

Within 30 days of entry of plea, Defendant shall complete a financial disclosure
form listing all his assets and financial interests, whether held directly or indirectly,
solely or jointly, in his name or in the name of another. Defendant shall sign the
financial disclosure form under penalty of perjury and provide that form to the
Financial Litigation Unit of the United States Attorney’s Office and to the United
States Probation Office. Defendant authorizes the United States to obtain credit reports
on Defendant and to share the contents of those reports with the Court and the United
States Probation Office. Defendant also authorizes the United States Attorney’s Office
to inspect and copy all financial documents and information held by the United States

Probation Office.
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c. Financial Examination
Defendant will submit to an examination under oath on the issue of his financial
disclosures and assets if deemed necessary by the United States. Such examination will
occur not later than 30 days after the entry of Defendant’s guilty plea.

d. No Transfer of Assets

Defendant certifies that he has made no transfer of assets in contemplations of
this prosecution for the purpose of evading or defeating financial obligations created by
this Agreement or that may be imposed upon his by the Court at sentencing. Defendant
promises that he will make no such transfers in the future.

e. Material Change in Circumstances

Defendant agrees to notify the United States of any material change in
circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in
this case. Such notification will be made within seven days of the event giving rise to
the changed circumstances, and in no event later than the date ofsentencing.

£ Enforcement

Any payment schedule imposed by the Court is without prejudice to the United
States to take all actions and remedies available to it to collect the full amount of the
financial obligations imposed by the judgment of the Court in this case. Defendant
understands and agrees that the financial obligations imposed by the judgment of the

Court in this case will be placed on the Treasury Offset Program so that any federal
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payment that Defendant receives may be offset and applied to the judgment debt
without regard to or affecting any payment schedule imposed by the Court.

g. Forfeiture and Abandonment of Property

The Defendant agrees to forfeit and abandon any property that was seized
during this investigation.
8. Waivers

a. Waiver of Appeal

Defendant entirely waives his right to a direct appeal of his conviction and
sentence on any ground (including any argument that the statute to which the
Defendant is pleading guilty is unconstitutional or that the admitted conduct does not
fall within the scope of the statute). The only exceptions are that the Defendant may
file a direct appeal of his sentence if (1) the court enters a sentence above the statutory
maximum, (2) the court enters a sentence above the advisory Sentencing Guidelines
range found to apply by the court at sentencing; or (3) the Government appeals the
sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his
attorney not to file an appeal.

b. Waiver of Collateral Attack

Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.
§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.
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c. FOIA and Privacy Act Waiver

Defendant waives all rights, whether asserted directly or through a
representative, to request or receive from any department or agency of the United
States any record pertaining to the investigation or prosecution of this case under the
authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974,
5 U.S.C. § 552a, and all subsequent amendments thereto.

d. Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the Federal
Rules of Evidence ordinarily limit the admissibility of statements made bya Defendant
during the course of plea discussions or plea proceedings. Defendant knowingly and
voluntarily waives the protections of these rules. If Defendant fails to plead guilty, or
his plea of guilty is later withdrawn, all of Defendant’s statements in connection with
this plea, and any leads derived therefrom, shall be admissible for any and all purposes.

9. Defendant’s Rights

Defendant has the right to be represented by counsel, and if necessary have the
court appoint counsel, A trial and at every other critical stage of the proceeding.
Defendant possesses a number of rights which he will waive by pleading guilty,
including: the right to plead not guilty, or having already so pleaded, to persist in that
plea; the right to a jury trial; and the right at trial to confront and cross-examine adverse
witnesses, to be protected from compelled self-incrimination, to testify and present

evidence, and to compel the attendance of witnesses.
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10. Satisfaction with Counsel

Defendant has had the benefit of legal counsel in negotiating this agreement.
Defendant believes that his attorney has represented his faithfully, skillfully, and
diligently, and he is completely satisfied with the legal advice given and the work
performed by his attorney.

11. Breach of Plea Agreement

Defendant breaches this agreement if, prior to sentencing in his case, he fails to
comply with any of the terms of this agreement, withdraws or attempts to withdraw
his guilty plea, refuses to accept responsibility for his criminal conduct, obstructs
justice, tampers with witnesses or evidence, or commits any new crimes. If Defendant
breaches the plea agreement, the Government is released from any agreement herein
regarding the calculation of the advisory Sentencing Guidelines or the appropriate
sentence. In addition, the Government may (1) declare the plea agreement null and
void, (2) reinstate any counts that may have been dismissed pursuant to the plea
agreement, and/or (3) file new charges against Defendant that might otherwise be
barred by this plea agreement. Defendant waives any statute-of- limitations or speedy
trial defense to prosecutions reinstated or commenced under this paragraph.

12. Entire Agreement
This agreement contains the entire agreement between the Government and

Defendant.
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BOBBY L. CHRISTINE

UNITED STATES ATTORNEY

Date Karl Knoche
Georgia Bar No. 426624

ief, Criminal Division

Date pshua S. Bearden
‘Alabama Bar No. 75035S71B

Assistant United States Attorney

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I have read and carefully reviewed this agreement with my attorney. I
understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.

7: |0-a9 iy
Date Arkeem Collins, Defendant

I have fully explained to Defendant all of his rights, and I have carefully
reviewed each and every part of this agreement with his. I believe that he fully and
completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.

Ate his
Date

Scott Reddock, Esquire
Defendant’s Attorney

